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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION



  JEREMIAH DAVIS,
                           Plaintiff,
                                                 Civil Action No.
           – against–
                                                 COMPLAINT
  GOVERNMENT EMPLOYEES CREDIT                    JURY TRIAL DEMANDED
  UNION and BLALACK & WILLIAMS, P.C.


                           Defendant(s).




       COMES NOW Plaintiff, JEREMIAH DAVIS (hereinafter “PLAINTIFF”), by and through

his attorneys, the Law Offices of Robert S. Gitmeid & Associates, PLLC, by way of Complaint

against Defendants Government Employees Credit Union (“GECU”), and Blalack & Williams,

P.C. (“Blalack & Williams”), (together, “DEFENDANTS”), hereby alleges:

     1. This is an action for damages brought by an individual for DEFENDANTS’ violation of

         the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (hereafter “FDCPA”),

         breach of the Texas Debt Collection Practices Act, TX FIN § 392, et seq. (hereafter,

         “TDCPA”), breach of contract, and breach of the implied covenant to cooperate. The

         FDCPA prohibits debt collectors from engaging in abusive, deceptive, and unfair

         collection practices.

                                           PARTIES

     2. PLAINTIFF, JEREMIAH DAVIS, is an adult residing in El Paso, Texas.
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3. PLAINTIFF is a “consumer” as defined by 15 U.S.C. § 1692a(3).

4. DEFENDANT GECU is a business entity incorporated within the State of Texas, with

   its principal place of business located at 10806 Metric Blvd, Austin, Texas 78758.

5. DEFENDANT BLALACK & WILLIAMS is a professional corporation formed under

   the laws of the State of Texas, which is regularly engaged in the business of collecting

   consumer debt, and has its principal place of business located at 4851 Lyndon B.

   Johnson Freeway, Suite 750, Dallas, Texas 75244.

6. DEFENDANT BLALACK & WILLIAMS is a “debt collector” as defined by 15 U.S.C.

   § 1692a(6).

                             JURISDICTION AND VENUE

7. This Court has subject matter jurisdiction under 28 U.S.C. § 1331. The Court has

   supplemental jurisdiction for any state claims contained within under 28 U.S.C. § 1367.

8. The Court’s exercise of personal jurisdiction over DEFENDANTS is valid because a

   substantial part of the events and omissions giving rise to PLAINTIFF’S claim occurred

   within the Court’s jurisdiction.

9. Venue in this District is proper pursuant to 28 U.S.C. § 1391(b)(2).

                              FACTUAL ALLEGATIONS

10. On or about April 23, 2018, DEFENDANT BLALACK & WILLIAMS, on behalf of

   DEFENDANT GECU, entered into a settlement agreement with PLAINTIFF to settle

   and close PLAINTIFF’S GECU account ending in 9512. A transcription of the phone

   call disclosure is available upon request.

11. Pursuant to the terms of the settlement agreement, PLAINTIFF was required to make

   twenty-four (24) payments beginning April 30, 2018, and on the 30th of each
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   consecutive month thereafter, until payments totaled the agreed settlement balance of

   $12,689.00.

12. Pursuant to the settlement agreement, PLAINTIFF made twenty-three (23) payments

   totaling $12,160.33, between April 30, 2018, through February 6, 2020. Proof of these

   payments is attached hereto as Exhibit A.

13. On February 7, 2020, PLAINTIFF, via his debt settlement representative, contacted

   DEFENDANT BLALACK & WILLIAMS to make the final payment of $528.67. The

   debt settlement representative spoke to a representative named “Gary,” who

   communicated that the remaining balance in the settlement agreement was $1,939.67.

   Further, he stated that there was no settlement agreement in the amount of $12,689.00,

   but rather a settlement agreement in the amount of $14,100.00. PLAINTIFF contacted

   DEFENDANT BLALACK & WILLIAMS again later that same day, and spoke with

   “Yessenia,” another representative at DEFENDANT BLALACK & WILLIAMS.

   Yessenia also communicated to PLAINTIFF that there was no settlement agreement in

   the amount of $12,689.00, but a settlement agreement in the amount of $14,100.00.

14. On February 10, 2019, PLAINTIFF, via his debt settlement representative, contacted

   DEFENDANT BLALACK & WILLIAMS and spoke with Gary again. During this call,

   Gary communicated to PLAINTIFF that an attorney with DEFENDANT BLALACK &

   WILLIAMS verified that there was no settlement agreement in the amount of

   $12,689.00, but a settlement agreement in the amount of $14,100.00. Gary also

   communicated that he was never involved with PLAINTIFF’s account, and claimed to

   have no recollection of the April 23, 2018 phone call.
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15. On March 10, 2020, PLAINTIFF, via his debt settlement representative, contacted

   DEFENDANT BLALACK & WILLIAMS and spoke with Yessenia again. Yessenia

   communicated to PLAINTIFF again that there was no settlement agreement in the

   amount of $12,689.00, but a settlement agreement in the amount of $14,100.00, and that

   she verified this with an attorney at DEFENDANT BLALACK & WILLIAMS.

16. On March 30, 2020, DEFENDANT GECU did not accept or pull PLAINTIFF’S final

   payment of $528.67.

17. On July 8, 2020, PLAINTIFF, via his counsel, reached out to DEFENDANT BLALACK

   & WILLIAMS via email. In the email, PLAINTIFF explained the terms of the original

   settlement agreement as being $12,689.00 in twenty-four (24) payments. Further,

   PLAINTIFF offered to provide an audio recording showing the terms of the original

   settlement agreement. DEFENDANT BLALACK & WILLIAMS did not respond to

   PLAINTIFF’S email.

18. On July 29, 2020, PLAINTIFF, via his counsel, sent a demand letter to DEFENDANT

   BLALACK & WILLIAMS outlining the original settlement agreement in the phone call

   recording dated April 23, 2018. DEFENDANT BLALACK & WILLIAMS did not

   respond to PLAINTIFF’S demand letter. A copy of said demand letter is attached hereto

   as Exhibit B.

19. At all times pertinent hereto, DEFENDANTS acted by and through their agents, servants

   and/or employees, who were acting within the scope and course of its employment, and

   under the direct supervision and control of the DEFENDANTS herein.

20. At all times pertinent hereto, the conduct of DEFENDANTS, as well as that of their

   agents, servants and/or employees, was malicious, intentional, willful, reckless,
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   negligent and in wanton disregard for federal law and the rights of the PLAINTIFF

   herein.

                                     COUNT 1
                             (Violation of the FDCPA)

21. PLAINTIFF reasserts and incorporates herein by reference all facts and allegations set

   forth above.

22. The above contacts between DEFENDANT BLALACK & WILLIAMS and

   PLAINTIFF constitute “communications” relating to a “debt” as defined by 15 U.S.C.

   §§ 1692a(2) and 1692a(5) of the FDCPA.

23. FDCPA 15 U.S.C. § 1692(f) prohibits the use of unfair or unconscionable practices to

   collect a debt, including collection of any amount not authorized by the contract or

   law. FDCPA 15 U.S.C. § 1692e(2)(a) prohibits the false representation of the

   character, amount or legal status of any debt. FDCPA 15 U.S.C. § 1692e(10) prohibits

   any false, misleading, or deceptive representation or means in connection with the

   collection of a debt.

24. DEFENDANT BLALACK & WILLIAMS engaged in abusive, deceptive, and unfair

   collection practices where DEFENDANT BLALACK & WILLIAMS did not accept

   the final payment of $528.67, as per the terms of the settlement agreement, which was

   made available by PLAINTIFF on March 30, 2020.

25. DEFENDANT BLALACK & WILLIAMS engaged in abusive, deceptive, and unfair

   collection practices where DEFENDANT BLALACK & WILLIAMS represented that

   the debt was not in accordance as per the terms of the settlement agreement.

26. Additionally, DEFENDANT BLALACK & WILLIAMS violated the above provisions

   where DEFENDANT BLALACK & WILLIAMS misrepresented the debt amount as
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   being $14,100.00 on February 7, 2020, February 10, 2020, and March 10, 2020,

   whereas the actual debt amount was actually $12,689.00.

27. DEFENDANT BLALACK & WILLIAMS knew or should have known that its actions

   violated the FDCPA. Additionally, DEFENDANT BLALACK & WILLIAMS could

   have taken the steps necessary to bring its actions within compliance with the FDCPA

   but neglected to do so and failed to adequately review its actions to ensure compliance

   with said laws.

28. As a result of the above violations of the FDCPA, DEFENDANT BLALACK &

   WILLIAMS is liable to PLAINTIFF for actual damages, statutory damages, attorney’s

   fees and costs.

                                     COUNT 2
                             (Violation of the TDCPA)

29. PLAINTIFF reasserts and incorporates herein by reference all facts and allegations set

   forth.

30. TX FIN § 392.304(a)(8) prohibits the misrepresentation of the character, extent, or

   amount of a consumer debt. TX FIN § 392.304(a)(19) prohibits debt collectors from

   using any false representation or deceptive means to collect a debt.

31. DEFENDANTS violated TX FIN § 392.304(a)(8) where DEFENDANT BLALACK &

   WILLIAMS, on behalf of DEFENDANT GECU, misrepresented the debt amount as

   being $14,100.00 on February 7, 2020, February 10, 2020, and March 10, 2020,

   whereas the actual debt amount was actually $12,689.00.

32. DEFENDANTS’ actions were deceptive under TX FIN § 392.304(a)(19) where

   DEFENDANT BLALACK & WILLIAMS, on behalf of DEFENDANT GECU, did
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   not accept the final payment of $528.67, as per the terms of the settlement agreement,

   which was made available by PLAINTIFF on March 30, 2020.

33. Additionally, DEFENDANTS’ actions were deceptive under TX FIN § 392.304(a)(19)

   where DEFENDANT BLALACK & WILLIAMS, on behalf of DEFENDANT GECU,

   represented that the debt was not in accordance as per the terms of the settlement

   agreement.

34. DEFENDANTS knew or should have known that their actions violated the TDCPA.

   Additionally, DEFENDANTS could have taken the steps necessary to bring its actions

   within compliance with the TDCPA but neglected to do so and failed to adequately

   review its actions to ensure compliance with said laws.

35. As a result of the above violations of the TDCPA, DEFENDANTS are liable for actual

   damages, attorney’s fees, and costs.

                                     COUNT 3
                                 (Breach of Contract)

36. Plaintiff reasserts and incorporates herein by reference all facts and allegations set

   forth above.

37. On or about April 23, 2018, DEFENDANT GECU entered into a settlement agreement

   with PLAINTIFF to settle and close PLAINTIFF’S GECU account ending in 9512.

38. Pursuant to the terms of the settlement agreement, PLAINTIFF was required to make

   twenty-four (24) payments totaling $12,689.00.

39. Pursuant to the settlement agreement, PLAINTIFF made twenty-three (23) payments

   totaling $12,160.33, between April 30, 2018, through February 6, 2020.
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40. DEFENDANT GECU’S actions constitute a breach of contract where DEFENDANT

   GECU agreed to take twenty-four (24) payments as per the settlement agreement, but

   only accepted and pulled twenty-three (23) payments.

41. Additionally, DEFENDANT GECU’S actions constitute breach of contract where

   DEFENDANT GECU agreed to a settlement in the amount of $12,689.00, but attempted

   to collect $14,100.00 by way of their debt collection agent, DEFENDANT BLALACK

   & WILLIAMS. attempted to collect that PLAINTIFF’S settlement agreement was in a

   different amount than previously agreed upon on or about April 23, 2018.

42. Further, DEFENDANT GECU’s actions constitute breach of contract where

   DEFENDANT GECU, by way of their debt collection agent, DEFENDANT BLALACK

   & WILLIAMS, unilaterally changed the terms of the settlement and attempted to collect

   a settlement amount that was more than what was initially agreed upon.

43. As a result of DEFENDANTS breach of contract, PLAINTIFF has suffered actual and

   monetary damages.

                                      COUNT 4
                  (Violation of the Implied Covenant to Cooperate)

44. PLAINTIFF reasserts and incorporates herein by reference all facts and allegations set

   forth above.

45. The implied covenant to cooperate is an implied duty of the parties of a contract to

   "cooperate to the extent necessary for the contract's performance." SP Terrace, L.P. v.

   Meritage Homes of Texas, LLC, 334 S.W.3d 275, 285 (Tex. App. Houston [1st Dist.]

   2010) (citing Bank One, Tex., N.A. v. Stewart, 967 S.W.2d 419, 434 (Tex. App.

   Houston [14th Dist.] 1998)). When applicable, the implied duty to cooperate prohibits
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           a party to a contract from hindering, preventing, or interfering with the other party’s

           ability to perform its contractual duties. Id.

      46. DEFENDANTS owed PLAINTIFF an implied covenant to cooperate with respect to

           the settlement agreement entered between DEFENDANTS and PLAINTIFF.

      47. By way of the foregoing conduct, DEFENDANTS breached the implied covenant to

           cooperate that it owed to PLAINTIFF with respect to the settlement agreement.

      48. DEFENDANT GECU has interfered with PLAINTIFF’S ability to perform his duties

           under the settlement agreement by not accepting PLAINTIFF’S March 30, 2020,

           payment.

      49. Further, DEFENDANT BLALACK & WILLIAMS has interfered with PLAINTIFF’S

           ability to perform his duties under the settlement agreement by refusing to honor the

           settlement agreement.

      50. Additionally, DEFENDANT BLALACK & WILLIAMS has acted unreasonably and

           deprived PLAINTIFF of the benefit of the bargain of the settlement agreement by

           refusing to perform its obligations under the settlement agreement.

      51. Specifically, DEFENDANT BLALACK & WILLIAMS owed a duty to PLAINTIFF to

           take all steps to honor the original agreement and to not engage in conduct that might

           result in the settlement agreement not being honored.

      52. As a result of DEFENDANTS’ breach of the implied covenant to cooperate,

           PLAINTIFF has suffered actual and monetary damages.

                                      PRAYER FOR RELIEF

       WHEREFORE, PLAINTIFF demands that judgment be entered against DEFENDANT as

follows:
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      1) That judgment be entered against DEFENDANT BLALACK & WILLIAMS for

          actual damages pursuant to 15 U.S.C. § 1692k(a)(1);

      2) That judgment be entered against DEFENDANT BLALACK & WILLIAMS for

          statutory damages pursuant to 15 U.S.C. § 1692k(a)(2)(A);

      3) That the Court award costs and reasonable attorney’s fees pursuant to 15 U.S.C. §

          1692k(a)(3);

      4) That judgement be entered against DEFENDANT GECU for actual and monetary

          damages accrued by PLAINTIFF as a result of DEFENDANT’S breach of contract;

      5) That judgement be entered against DEFENDANTS for actual and monetary damages

          accrued by PLAINTIFF as a result of DEFENDANTS’ breach of the implied

          covenant to cooperate;

      6) That judgment be entered against DEFENDANTS for actual damages pursuant to TX

          FIN § 392.403(a)(2);

      7) That the Court award costs and reasonable attorney’s fees pursuant to TX FIN

          § 392.403(b); and

      8) That the Court grant such other and further relief as may be just and proper.

Dated: February 3, 2021



                                           /s/ Thomas J. Bellinder, Esq.
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